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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-1(b)



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In re:                                                         Case No. 23-12365-SLM

Masahiko Negita, Yasuko Negita,                                Chapter 11

                                                               Judge: Stacey L. Meisel

                                                     Debtors


                                      NOTICE OF APPEARANCE

         Please take notice that in accordance with Fed. R. Bankr. P. 9010(b) the undersigned

enters an appearance in this case on behalf of JPMorgan Chase Bank, National Association.

Request is made that the documents filed in this case and identified below be served on the

undersigned at this address:

         ADDRESS:
          McCalla Raymer Leibert Pierce, LLC
          485F US Highway 1 S, Suite 300
          Iselin, NJ 08830

         DOCUMENTS:
          All notices entered pursuant to Fed. R. Bankr. P. 2002.
          All documents and pleadings of any nature.

Date:     April 6, 2023                           /s/ Phillip Raymond
                                                  Phillip Raymond




NOA
